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                     IN THE UNITED STATES DISTRICT COUR13 OCT 25                     Pl·1 2: 3,.,
                          FOR THE DISTRICT OF NEBRASKA . ·~·~· .... ·- .
                                                                     f-ii· t· rt~:. 0;:· TFE Clift«

UNITED STATES OF AMERICA,                    )        CASE NO. 8:13MJ325
                                             )
                    Plaintiff,               )
                                             )
      -vs-                                   )                       ORDER
                                             )
Jermaine Hall                                )
                                             )
                     Defendant.              )
                                             )

      This matter comes before the Court on the request of the Federal Public Defender

for the Court to authorize Douglas Lederer, as a Criminal Justice Act Training Panel

Member, to assist in the defense of Jermaine Hall.

      Accordingly, pursuant to the terms of Appendix I, Part 1(c) of the Amended Criminal

Justice Act Plan for the District of Nebraska, Douglas Lederer is hereby assigned to assist

the FAFPD Shannon P. O'Connor in the representation of the Defendant in the above-

captioned case, and must file an entry of appearance forthwith. Douglas Lederer shall not

be eligible to receive compensation for his services in this case.

       FAFPD Shannon P. O'Connor shall continue to be primary counsel on behalf of the

Defendant, Jermaine Hall.

       Dated:         I
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                                    BY THE
